
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent's Answer.
Claimant seeks $12,060.00 for the rental of a bed necessary for his wife, Rebel White, an insured, under claimant's P.E.I.A. policy. Claimant's wife suffered a tumor of the brain. Her attending physician, Dr. John H. Schmidt, III, prescribed a Clinitron bed, but when claimant submitted a claim to the Public Employees Insurance Agency, it was denied. The respondent admits the validity and amount of the claim and states that there were sufficient funds expired in the appropriate fiscal year with which the claim could have been paid.
In view of the foregoing, the Court makes an award in the amount sought.
Award of $12,060.00.
